LIVE 1.7.1.1 NEXTGEN CM/ECF - U.S. District Court for Eastern Cal...        https://caed-ecf.sso.dcn/cgi-bin/DktRpt.pl?142830191455243-L_1_0-1
                           Case 1:24-mj-00225-CWD Document 1 Filed 09/09/24 Page 1 of 2

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                                                  U.S. District Court
                              Eastern District of California - Live System (Sacramento)
                             CRIMINAL DOCKET FOR CASE #: 2:24-cr-00257-DJC-2


         Case title: USA v. Humber, et al.                                         Date Filed: 09/05/2024


         Assigned to: District Judge Daniel J.
         Calabretta

         Defendant (2)
         Matthew Robert Allison

         Pending Counts                                                               Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                                            Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                                   Disposition
         None



         Plaintiff
         USA                                                      represented by Angela Louise Scott , GOVT
                                                                                 United States Attorney's Office
                                                                                 501 I Street
                                                                                 Suite 10-100
                                                                                 Sacramento, CA 95814
                                                                                 916-554-2700
                                                                                 Fax: 916-554-2900
                                                                                 Email: angela.scott3@usdoj.gov
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
                                                                                 Designation: Assistant US Attorney


1 of 2                                                                                                                    9/9/2024, 10:41 AM
LIVE 1.7.1.1 NEXTGEN CM/ECF - U.S. District Court for Eastern Cal...   https://caed-ecf.sso.dcn/cgi-bin/DktRpt.pl?142830191455243-L_1_0-1
                           Case 1:24-mj-00225-CWD Document 1 Filed 09/09/24 Page 2 of 2


         Date Filed         # Docket Text
         09/09/2024        7 MINUTE ORDER (Text Only Entry) as to Dallas Erin Humber and Matthew Robert
                             Allison issued by Courtroom Deputy N. Cannarozzi for Magistrate Judge Jeremy D.
                             Peterson on 9/9/2024: CASE UNSEALED as to Dallas Erin Humber and Matthew
                             Robert Allison at the request of the assigned U.S. Attorney. (Cannarozzi, N) (Entered:
                             09/09/2024)




2 of 2                                                                                                               9/9/2024, 10:41 AM
